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                                                                                       April 7, 2022

 VIA ECF

 The Honorable Leda D. Wettre, U.S.M.J.
 United States District Court
 King Fed. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

       Re:    Celgene Corporation v. Alembic Pharmaceuticals Limited
              Civil Action No. 21-20099 (SDW)(LDW)

 Dear Judge Wettre:

        This firm, together with Quinn Emanuel Urquhart & Sullivan, LLP and Jones Day,
 represents plaintiff Celgene Corporation in the above-captioned matter.

        Enclosed is a copy of the parties’ proposed Discovery Confidentiality Order (“DCO”). If
 this meets with the Court’s approval, we respectfully request that Your Honor execute the
 proposed DCO and have it entered on the docket.

         Thank you for Your Honor’s kind attention to this matter.

                                                                    Respectfully yours,



                                                                    Charles M. Lizza

 Enclosure

 cc:     All Counsel (via e-mail)




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       DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS NEW JERSEY NEW YORK PENNSYLVANIA WASHINGTON, DC
                                                      A DELAWARE LIMITED LIABILITY PARTNERSHIP
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  Celgene Corporation

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  CELGENE CORPORATION,                           Civil Action No. 21-20099
                                                 (SDW)(LDW)
                            Plaintiff,
                                                 PROPOSED STIPULATED
         v.                                      DISCOVERY CONFIDENTIALITY
                                                 ORDER
  ALEMBIC PHARMACEUTICALS
  LIMITED,                                       (Filed Electronically)
                            Defendant.
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           WHEREAS, Plaintiff Celgene Corporation (“Plaintiff” or “Celgene”) and Defendant

 Alembic Pharmaceuticals Limited (“Alembic”) are the parties to Civil Action No. 21-20099

 (SDW)(LDW) (the “action” or “litigation”);

           WHEREAS, the parties to this action believe that one or more of them will or may be

 required to disclose to another party certain documents, things, and information that constitute or

 contain trade secrets, technical know-how, or other confidential or proprietary research,

 development, business, commercial, or financial information relating to the subject matter of this

 action;

           WHEREAS, the parties consider such information to be confidential and proprietary

 within the meaning of Fed. R. Civ. P. 26(c)(1)(G), Pansy v. Borough of Stroudsburg, 23 F.3d 772

 (3d Cir. 1994) and Glenmede Trust Co. v. Thompson, 56 F.3d 476 (3d Cir. 1995) and, therefore,

 mutually desire that a Discovery Confidentiality Order limiting use, access to, and disclosure of

 such information be entered;

           WHEREAS, to preserve the legitimate business interests of the parties or nonparties in

 their confidential information without unduly encroaching upon the public’s right to be informed

 of judicial proceedings in accordance with Local Civil Rule 5.3;

           WHEREAS, a party seeking to protect information filed under seal with the Court must

 show good cause for sealing that part of the record, in accordance with Local Civil Rule 5.3;

           WHEREAS, the parties contemplate that confidential information produced in this action

 may be produced by a nonparty, and the parties also seek to facilitate the production and protection

 of such confidential information;




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         WHEREAS, the parties have exchanged and/or expect to exchange discovery in

 connection with this matter and recognize that confidential information may be disclosed in the

 course of this discovery, and in other proceedings in this matter;

         WHEREAS, the parties desire to limit the extent of disclosure and use of such confidential

 information, and to protect such confidential information from unauthorized use and/or further

 disclosure, and wish to ensure that no advantage is gained by any party by the use of such

 confidential information which could not have been gained had discovery in this action not

 occurred;

         WHEREAS, this action involves highly technical subject matter requiring discovery of

 trade secrets and proprietary information pertaining to, among other things, drug formulations,

 manufacturing processes and techniques, scientific research and development, and other sensitive

 competitive information; and

         WHEREAS, the parties have consented to the entry of this Discovery Confidentiality

 Order pursuant to Fed. R. Civ. P. 26(c)(1)(G) and Local Civil Rule 5.3 and the Court having

 considered the foregoing and for good cause shown,

         IT IS on this _____ day of _______________, 2022,

         ORDERED, that the following provisions shall govern the conduct of further proceedings

 in this action:

                                             Definitions

         1.        (a)   The term “Confidential Information” shall mean any tangible thing or oral

 testimony that contains or reveals what a party or nonparty considers to be its trade secret, business

 confidential, or proprietary information. It may include, without limitation, documents produced

 in this action, during formal discovery or otherwise; information of nonparties which the producing

 or designating party is under an obligation to maintain in confidence; initial disclosures; answers

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 to interrogatories and responses to requests for admission or other discovery requests; deposition

 or hearing transcripts; affidavits; exhibits; experts’ reports; memoranda of law; and tangible things

 or objects that are designated Confidential pursuant to this Order. The information contained

 therein and all copies, abstracts, excerpts, analyses, notes or other writings that contain, reflect,

 reveal or otherwise disclose such confidential information shall also be deemed “Confidential

 Information.” Information originally designated as “Confidential Information” shall not retain that

 status after any ruling by the Court denying such status to it. Each party shall act in good faith in

 designating information as “Confidential Information.”

                 (b)       The term “Highly Confidential Information” shall mean all information

 regarding (i) confidential and/or proprietary information pertaining to marketing, sales, revenues,

 profits, forecasts, or business plans or strategies for any existing products or products in

 development; (ii) past, current, or future products other than lenalidomide-containing drug

 products;   (iii)     past,   current,   or   future   plans   regarding   treatment   indications   for

 lenalidomide-containing drug products other than the treatment indications for which United States

 Food and Drug Administration (“FDA”) approval is or has been sought; and (iv) scientific,

 regulatory, or technical information relating to, referring to, or concerning (but excluding publicly

 available scientific information and publications) Revlimid®, Celgene’s NDA 21-880, Alembic’s

 ANDA No. 216260, DMF No. 034650 and/or any associated products. It may include, without

 limitation, documents produced in this action, during formal discovery or otherwise; information

 of non-parties which the producing or designating party is under an obligation to maintain in

 confidence; initial disclosures; answers to interrogatories and responses to requests for admission

 or other discovery requests; deposition or hearing transcripts; affidavits; exhibits; experts’ reports;

 memoranda of law; and tangible things or objects that are designated Highly Confidential pursuant



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 to this Order. The information contained therein and all copies, abstracts, excerpts, analyses, notes,

 or other writings that contain, reflect, reveal, or otherwise disclose such highly confidential

 information shall also be deemed “Highly Confidential Information.” Information originally

 designated as “Highly Confidential Information” shall not retain that status after any ruling by the

 Court denying such status to it. Each party shall act in good faith in designating information as

 “Highly Confidential Information.”

                 (c)    The term “party” means Celgene and/or Alembic.

                 (d)    The term “producing party” means the party or nonparty producing

 documents or information as Confidential Information or Highly Confidential Information under

 this Order.

                 (e)    The term “receiving party” shall mean the party to whom Confidential

 Information or Highly Confidential Information is produced.

        Designation of Confidential Information and Highly Confidential Information

        2.       Each producing party who produces or discloses any material that it believes

 comprises Confidential Information may so designate it by marking the document, information,

 thing, or portion thereof containing the information “CONFIDENTIAL.” Each producing party

 who produces or discloses any material that it believes comprises Highly Confidential Information

 may so designate it by marking the document, information, thing, or portion thereof containing the

 information “HIGHLY CONFIDENTIAL.” When documents are produced for inspection, the

 documents shall be treated by the receiving party as “Highly Confidential” until copies are

 provided.     Deposition testimony will be treated as Highly Confidential Information unless

 otherwise designated, confidentiality is waived or reduced either on the record during the

 deposition or within twenty-five (25) calendar days after receipt of the transcript, or the court

 orders that such testimony is not Highly Confidential. Each transcript shall be prominently marked

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 on the front page with a statement that provides “THIS DEPOSITION TRANSCRIPT

 CONTAINS [HIGHLY] CONFIDENTIAL INFORMATION SUBJECT TO DISCOVERY

 CONFIDENTIALITY ORDER” or similar legend. For non-written material, such as recordings,

 magnetic media, photographs, and things, a legend substantially in the above form shall be affixed

 to the material, or a container for it, in any suitable manner.

        3.      If any Confidential Information or Highly Confidential Information is produced by

 a nonparty to this litigation, such a nonparty shall be considered a producing party within the

 meaning of that term as it is used in the context of this Order and each of the parties shall be treated

 as a receiving party. Confidential Information or Highly Confidential Information that originated

 with a nonparty may be designated as such and shall be subject to the restrictions on disclosure

 specified herein.

        4.      In the event any producing party produces Confidential Information or Highly

 Confidential Information that has not been designated as such or not correctly designated, the

 producing party may designate or redesignate the information to the same extent as it may have

 designated the information before production, by a subsequent notice in writing specifically

 identifying the redesignated information, in which event the parties shall henceforth treat such

 information in accord with this Order, and shall undertake their best efforts to correct any

 disclosure of such information contrary to the redesignation, including retrieving any documents

 from persons not qualified to receive them under the redesignation and informing such persons

 that they should not further use or disseminate the information thereon. No demonstration or proof

 of error, inadvertence, or excusable neglect by the designating party shall be required for such

 redesignation, with the following exception: corrections to the designation of documents or

 information used in hearings, depositions, and trial must be made contemporaneously or else are



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 waived, but only in situations where the nature of the hearing, deposition, or trial would otherwise

 be inconsistent with the designation sought (by way of nonlimiting example, redesignation must

 be contemporaneous in a public hearing where a party seeks to designate a document as

 “Confidential” or “Highly Confidential,” but redesignation need not be contemporaneous in a

 sealed hearing where a party seeks to designate a document as “Confidential” or “Highly

 Confidential”).

                                     Challenge to Designation

          5.    A party shall not be obligated to challenge the propriety of any designation of

 Confidential Information or Highly Confidential Information at the time the designation is made,

 and failure to do so shall not preclude a subsequent challenge to the designation. In the event that

 any party to this action disagrees at any stage of this action with any designation, such party shall

 provide written notice of its disagreement with the designation to the producing party. The parties

 shall first try to dispose of such dispute in good faith on an informal basis without judicial

 involvement. If the dispute cannot be resolved, the party challenging the designation may request

 appropriate relief from the Court within ten (10) business days after written notice is provided,

 provided such request is in accordance with Local Civil Rule 37.1. The burden of proving that

 information has been properly designated is on the producing party. However, the parties agree

 that designating information as Confidential Information or Highly Confidential is improper if

 such information (i) can be shown to be generally available to the public at the time of such

 designation; (ii) becomes part of the public domain or publicly known or available by publication

 or otherwise not as the result of any unauthorized act or omission on the part of the non-designating

 party; or (iii) is thereafter disclosed to the non-designating party by a third party as a matter of

 right.



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    Disclosure and Use of Confidential Information and Highly Confidential Information

        6.      (a)     Subject to Paragraphs 10-14, Confidential Information of the producing

 party may be disclosed, summarized, described, revealed, or otherwise made available in whole or

 in part only in accordance with the terms of this Order, and only to the following persons:

                        (i)     outside counsel of record for Celgene and Alembic, and employees

 of such counsel, who, after receipt of Confidential Information, and in addition to the other terms

 of this Discovery Confidentiality Order, shall not use any other party’s or any nonparty’s

 Confidential Information for any purpose other than in connection with this litigation, and shall

 not disclose any other party’s or any nonparty’s Confidential Information to any third party,

 including, but not limited to, the FDA and the United States Patent and Trademark Office (“PTO”);

                        (ii)    four (4) designated in-house attorneys or legal representatives

 employed by each party employed by each party, as well as their clerical staff (including

 paralegals), who have a need to know Confidential Information to fulfill their duties and

 responsibilities in connection with this litigation, provided such attorneys or legal representatives

 have complied with Paragraph 12 hereof, the designated in-house attorneys or legal representatives

 for the parties being as follows:

        For Celgene: to be determined;

        For Alembic: to be determined;

        who, after receipt of Confidential Information, and in addition to the other terms of this

 Discovery Confidentiality Order, shall not use any other party’s or any nonparty’s Confidential

 Information for any purpose other than in connection with this litigation, and shall not disclose

 any other party’s or any nonparty’s Confidential Information to any third party, including, but not

 limited to, the FDA and the PTO;



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                          (iii)      two (2) employees of a receiving party and their immediate support

  staff, who have a need to know Confidential Information to fulfill their duties and responsibilities,

  but who shall not have direct responsibility for competitive decision-making regarding compounds

  or compositions containing lenalidomide, provided that the employees and parties have complied

  with the procedures set forth in Paragraphs 12-14 hereof;

                          (iv)       independent experts and consultants and their staff (excluding

  current and former directors and officers or employees of the parties) retained to assist counsel for

  the parties in the conduct of this litigation, provided such persons have complied with Paragraph

  12 hereof;

                          (v)        potential fact witnesses in this action who are currently directors,

  officers, employees, or corporate designees of the producing party under Fed. R. Civ. P. 30(b)(6),

  but only at deposition or trial;

                          (vi)       potential fact witnesses in this action (including, but not limited to,

  those who were formerly directors, officers, employees, or corporate designees of the producing

  party, but only for those witnesses if the Confidential Information was in existence during the

  period of his or her service or employment and foundation is established that the witness was

  involved in the project to which the Confidential Information relates so that it is reasonable that

  the witness had access to the Confidential Information during the course of his or her service or

  employment) and their counsel, provided that the information was authored by, created by,

  addressed to, received by, signed by, or is otherwise established to have been known to the witness;

  but only at deposition, trial, or court hearing, and the good faith preparation therefor;

                          (vii)      the Court and its employees and the jury;

                          (viii) court reporters and videographers;



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                          (ix)    photocopy services;

                          (x)     professional translators who are retained by the attorneys for the

  parties for the purposes of this litigation;

                          (xi)    graphics or design consultants retained to prepare demonstrative or

  other exhibits for use in this action;

                          (xii)   non-technical jury or trial consultants and persons employed or

  retained by them solely in providing litigation support services to the parties’ outside counsel law

  firms;

                          (xiii) document imaging and database services and consultants retained to

  set up, maintain and/or operate litigation databases for this litigation; and

                          (xiv)   any others as ordered by the Court or to whom the producing party

  has given written consent.

                  (b)     Subject to Paragraphs 10-14, Highly Confidential Information of the

  producing party shall be subject to the same restrictions as Confidential Information set forth in

  Paragraph 6(a) except that it may be disclosed, summarized, described, revealed or otherwise made

  available in whole or in part only to the persons identified in Paragraphs 6(a)(i)-(ii) and (iv)-(xiv)

  and otherwise in accordance with the terms of this Order.

           7.     Nothing in this Discovery Confidentiality Order shall prevent disclosure of

  Confidential Information or Highly Confidential Information if the producing party consents to

  such disclosure or if the Court, after notice to all parties, orders such disclosure.

           8.     All Confidential Information and Highly Confidential Information disclosed

  pursuant to this Order shall be used by a recipient thereof solely for the purposes of this litigation

  and not for any business, regulatory, commercial, or competitive purposes, including, but not



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  limited to, filing or prosecuting patent applications, engaging in any post-grant patent proceeding,

  or any communicating or petitioning activity with the FDA or another regulatory agency. It shall

  be the duty of each party and each individual having notice of this Discovery Confidentiality Order

  to comply with this Order from the time of such notice. Subject to the other requirements of this

  Discovery Confidentiality Order, including this Paragraph 8, nothing herein shall prevent the

  individuals identified in Paragraph 6 from participating in any post-grant proceedings at the PTO

  or in any foreign patent office or tribunal (including, but not limited to, ex parte reexamination,

  inter partes review, post-grant review, covered-business-method review, patent opposition

  proceedings, patent nullity proceedings, or patent invalidation proceedings).

         9.      By written agreement of the parties, or upon motion and order of the Court, the list

  of individuals designated under Paragraph 6 to whom Confidential Information or Highly

  Confidential Information may be disclosed may be modified or expanded.

         10.     If a producing party seeks to protect Confidential Information or Highly

  Confidential Information from public disclosure or use during a trial, court appearance or hearing

  which is open to the public (a “Court Disclosure”), the producing party shall make an application

  to the Court to restrict such disclosure or use, unless consent from the receiving party is previously

  obtained. Such application may be made at any time before the Court Disclosure or within ten

  (10) business days after the Court Disclosure.

         11.     Any party filing any document, material or information designated by another party

  as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” shall comply with Local Civil Rule

  5.3(c) to seal such document, material or information to prevent public disclosure.                In

  supplementation of Local Civil Rule 5.3(c)(4), (unless this procedure is obviated by the recently

  amended procedures requiring the filing of an omnibus motion to seal), before filing any redacted



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  public copy, a “proposed redacted copy” shall be provided to the opposing party(ies), reasonably

  in advance of the filing deadline and no later than 5:00 p.m. Eastern, to allow additional redactions

  to be designated and/or unnecessary redactions to be removed. The parties will work together in

  good faith to jointly prepare the motion and supporting documents required by Local Civil Rule

  5.3(c)(3) and, should the need arise, will seek additional time to file any redacted public copy.

  Nothing in this provision relieves a party of liability for damages caused by the electronic filing

  of Confidential Information or for damages caused by failure to properly file under seal documents

  or materials containing Confidential Information or Highly Confidential Information.

         12.     No person identified in Paragraph 6(a)(ii)-(iv) shall be given access to Confidential

  Information and/or Highly Confidential Information unless such person shall first have signed a

  Declaration of Compliance with this Order in the form attached as Exhibit A hereto.

         13.     Before any person identified in Paragraphs 6(a)(ii)-(iv) may be given access to

  Confidential Information and/or Highly Confidential Information, the party seeking to provide

  such access shall deliver a copy of the Declaration referred to in Paragraph 12, fully executed by

  such person, and written notice (by email) to the attorneys for the producing party of the intention

  to make such disclosure. In the case of a disclosure to persons identified in Paragraph 6(a)(iv)

  hereof, the notice shall state the name and address of the person to whom disclosure is proposed

  and include a curriculum vitae and an identification of the person’s job title and responsibilities.

  In the case of a disclosure to persons identified in Paragraphs 6(a)(ii)-(iii) hereof, the notice shall

  state the individual’s name and position.

         14.     For proposed disclosures to persons identified in Paragraphs 6(a)(ii), (iii), and (iv),

  hereof, the producing party, within seven (7) business days from receiving service of written notice

  provided pursuant to Paragraph 13 hereof, may object to such disclosure by delivery (by email) of



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  a written notice of objection on the attorneys for the party seeking to make the disclosure, stating

  the reasons for the objection. No disclosure of Confidential Information or Highly Confidential

  Information may occur prior to the expiration of seven (7) business days from the date of service

  of the written notice of intent to disclose unless consent is granted earlier by the producing party

  or Ordered by the Court. Consent pursuant to the provisions of this Paragraph shall not be

  unreasonably withheld. If the producing party objects to the disclosure and gives written notice

  thereof, and the parties are unable to resolve the objection, the party opposing the disclosure must

  file a letter application to the Court pursuant to L. Civ. R. 37.1 within seven (7) business days of

  giving the written notice of objection; otherwise, the information may be disclosed to the identified

  person. If such an application is made, no disclosure may be made until the objection is resolved

  by agreement of the designating and receiving parties or the Court denies the application. Failure

  to timely object to the disclosure based on information then-disclosed in the written notice pursuant

  to Paragraph 13 hereof shall operate as a waiver of the objection. Waiver as to a specific disclosure

  shall not constitute waiver for any subsequent disclosures. In the event that an application is made,

  the objecting party shall have the burden of proving that disclosure should not occur.

         15.     Nothing herein shall prevent a producing party from disclosing its own Confidential

  Information or Highly Confidential Information in any manner that it considers appropriate.

         16.     Nothing herein shall bar or otherwise restrict counsel from rendering advice to his

  or her client with respect to this litigation and, in the course thereof, referring to or relying upon

  his or her examination of Confidential Information or Highly Confidential Information. In

  rendering such advice and in otherwise communicating with his or her client, counsel shall not

  disclose any Confidential Information or Highly Confidential Information if such disclosure would

  be contrary to the provisions of this Discovery Confidentiality Order.



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         17.     If a party is served with a subpoena, discovery request in another action, or any

  other request seeking by legal process the production of documents, things, information or other

  material produced to it and designated as Confidential Information or Highly Confidential

  Information in this action, such party shall notify promptly the producing party so as to provide

  the producing party a reasonable opportunity to object to the production.

         18.     If an additional party joins or is joined in this action, the newly joined party shall

  not have access to Confidential Information and Highly Confidential Information until the parties

  agree to a supplemental Discovery Confidentiality Order governing the protection of Confidential

  Information and Highly Confidential Information.

         19.     Any third party from whom discovery is sought in this action may designate some

  or all of the documents, things, information or other material as Confidential Information and

  Highly Confidential Information under this Discovery Confidentiality Order. If it does so, then

  each party to the action will have with respect to such Confidential Information and Highly

  Confidential Information the same obligations which that party has with respect to Confidential

  Information and Highly Confidential Information of another party to this action.

                          Duration of Order, Objections, Modifications

         20.     This Discovery Confidentiality Order shall remain in force and effect indefinitely

  until modified, superseded or terminated by Order of this Court, which may be entered pursuant

  to agreement of the parties hereto. This Discovery Confidentiality Order shall continue in effect

  after termination of this action and continue to be binding upon all persons to whom Confidential

  Information or Highly Confidential Information is disclosed hereunder.

         21.     Upon final termination of this action (including all appeals) the receiving party

  shall, within sixty (60) calendar days of such termination, either return to the producing party or

  destroy all Confidential Information and Highly Confidential Information in its possession,

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  including, but not limited to, information stored in electronic form. In either event, the receiving

  party shall describe the materials returned or destroyed and certify their return or destruction, with

  the exception that outside counsel may retain subject to the provisions of this Discovery

  Confidentiality Order one copy of the pleadings or other papers filed with the Court or served in

  the course of the litigation, deposition transcripts, deposition exhibits, hearing transcripts, and any

  hearing or trial record (including without limitation all bench memoranda, PowerPoint slides, and

  exhibits).

         22.     If the receiving party desires to disclose Confidential Information or Highly

  Confidential Information to persons not qualified to receive it under this Order or if the receiving

  party disagrees with a designation by the producing party, then the receiving party and the

  producing party shall first try to resolve such dispute. If the dispute cannot be resolved, either

  party may seek a ruling from the Court. Pending a determination by the Court, such information

  shall be treated under this Order as Confidential Information or Highly Confidential Information

  as designated by the producing party.

                                        No Waiver of Privileges

         23.     If information that is otherwise properly subject to a claim of attorney-client

  privilege, attorney work-product immunity, or any other privilege or immunity protecting it from

  discovery is inadvertently produced, the fact or circumstances of such inadvertent production shall

  in no way be relied upon as a ground to support any argument that the information is no longer

  subject to the privilege or immunity. Nor shall such inadvertent production prejudice or otherwise

  constitute a waiver of, or estoppel as to, any claim of privilege, work product immunity or other

  ground for withholding production to which the producing party or other person otherwise would

  be entitled, either in whole or in part, in this litigation or in any other proceeding. If a written

  claim of inadvertent production is made pursuant to this Paragraph, upon receipt of such written

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  notice, the receiving party shall promptly destroy or return to the producing party (i) the

  inadvertently produced material, (ii) any and all copies or reproductions thereof, and (iii) any and

  all copies of summaries or notes based thereon or relating thereto, of which the receiving party is

  aware.

           24.   However, if the receiving party wishes to challenge the claim that the information

  would have properly been subject to a privilege or immunity before it was inadvertently produced,

  it may retain one copy and must notify the producing party of its challenge within ten (10) business

  days of receiving the notice of inadvertent production, and move the Court for a ruling on the

  propriety of the claim of privilege or immunity within ten (10) business days of receiving the notice

  of inadvertent production, unless such time period is extended by mutual agreement of the parties.

  During the pendency of such motion, the receiving party may retain the single copy but shall make

  no other use or disclosure of the subject material or the information contained therein. The

  producing party shall bear the burden of proving that the inadvertently produced documents or

  materials are privileged or immune from discovery. Within five (5) business days of the receiving

  party’s timely filing of an application pursuant to L. Civ. R. 37.1 seeking an order compelling

  production of the inadvertently produced documents or materials, the producing party shall provide

  to the Court’s email address—LDW_orders@njd.uscourts.gov—a copy of the inadvertently

  produced documents or materials for in camera inspection by the Court. A copy of the cover letter

  forwarding the inadvertently produced information for in camera inspection by the Court shall be

  provided to the moving party. If the receiving party prevails on its challenge to the producing

  party’s claim of privilege or immunity, the producing party shall promptly reproduce the material

  to the receiving party. If the receiving party does not prevail on its challenge to the producing




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  party’s claim of privilege or immunity, it must certify to the producing party within five (5)

  business days of the Court’s decision that it has destroyed the remaining single copy.

         25.     If any Confidential Information or Highly Confidential Information is disclosed

  through inadvertence or otherwise by a receiving party to any person or party not otherwise

  authorized to receive such information under this Discovery Confidentiality Order, then the

  receiving party responsible for the disclosure shall (i) use its best efforts to obtain the return of

  such information and to bind such non-authorized person or party to the terms of this Discovery

  Confidentiality Order; (ii) within three (3) business days of the discovery of such disclosure,

  inform such person or party of all provisions of this Discovery Confidentiality Order and request

  that such person or party sign the Declaration of Compliance with this Discovery Confidentiality

  Order in the form attached as Exhibit A hereto; and (iii) within five (5) business days of the

  discovery of such disclosure, inform the producing party of all pertinent facts relevant to such

  disclosure, including the identity of such person or party and the information disclosed thereto.

                    No Waiver of Right to Appropriately Withhold or Redact

         26.     Notwithstanding the provisions of this Discovery Confidentiality Order, parties

  may redact from any document, whether or not designated Confidential Information or Highly

  Confidential Information under this Order, any information containing privileged material or

  material protected by work-product immunity.

                                             Amendment

         27.     This Discovery Confidentiality Order may be amended with respect to (a) specific

  documents or items of Confidential Information or Highly Confidential Information, or (b) persons

  to whom Confidential or Highly Confidential Information may be disclosed, upon written

  agreement of the parties with the approval of the Court. This Discovery Confidentiality Order



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  shall remain in force and effect indefinitely until modified, superseded, or terminated by order of

  this Court.

                                           Other Remedies

         28.     Nothing herein shall prevent any party or nonparty from seeking additional or

  different relief from the Court not specified in this Order.

                                             Miscellaneous

         29.     No party shall be responsible to another party for any use made of information that

  was produced and not designated as Confidential Information or Highly Confidential Information,

  except to the extent a party is required to perform the duties set forth in Paragraph 4 above.

         30.     Nothing in this Discovery Confidentiality Order shall prejudice the right of any

  party to oppose production of any information for lack of relevance, privilege, or any ground other

  than confidentiality.

         31.     Nothing in this Discovery Confidentiality Order shall prejudice the right of any

  party to seek at any time a further order modifying this Discovery Confidentiality Order.

         32.     In the event that a new party is added, substituted, or brought in, this Discovery

  Confidentiality Order will be binding on and inure to the benefit of the new party, subject to the

  right of the new party to seek relief from or modification of this Discovery Confidentiality Order.

         33.     Notice under this Discovery Confidentiality Order shall be to the parties as follows,

  unless this provision is modified by the parties in writing and filed with this Court: notice to

  Celgene shall be made to F. Dominic Cerrito, Quinn Emanuel Urquhart & Sullivan, LLP, 51

  Madison Avenue, 22nd Floor, New York, NY 10010, nickcerrito@quinnemanuel.com and to

  Matthew Hertko, Jones Day, 77 W. Wacker Drive, Chicago, IL, 60601, mkhertko@jonesday.com;

  notice to Alembic shall be made to Joseph T. Jaros, Rakoczy Molino Mazzochi Siwik LLP, 6 West



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  Hubbard Street, Ste. 500, Chicago, IL 60654, jjaros@rmmslegal.com and to Eric Abraham, Hill

  Wallack LLP, 21 Roszel Road, Princeton, NJ 08540, eabraham@hillwallack.com.

          34.     In the event any provision of this Order is inconsistent with the Court’s Local Civil

  Rules, the latter shall control.




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  IT IS SO STIPULATED AND AGREED this 7th day of April, 2022:

       By: s/ Charles M. Lizza                  By: s/ Eric I. Abraham
           Charles M. Lizza                         Eric I. Abraham
           William C. Baton                         (eabraham@hillwallack.com)
           Sarah A. Sullivan                        HILL WALLACK LLP
           SAUL EWING ARNSTEIN & LEHR LLP           21 Roszel Road
           One Riverfront Plaza, Suite 1520         Princeton, NJ 08540
           Newark, New Jersey 07102-5426            (609) 734-6358 (telephone)
           (973) 286-6700
           clizza@saul.com                         Of Counsel
                                                   William Rakoczy
           OF COUNSEL:                             (wrakoczy@rmmslegal.com)
                                                   Deanne Mazzochi
           F. Dominic Cerrito                      (dmazzochi@rmmslegal.com)
           Eric C. Stops                           Joseph Jaros (jjaros@rmmslegal.com)
           Evangeline Shih                         Matthew Anderson
           Andrew S. Chalson                       (manderson@rmmslegal.com)
           Gabriel P. Brier                        Thomas Ehrich
           Frank C. Calvosa                        (tehrich@rmmslegal.com)
           Marta A. Godecki                        Adrianne Rose
           Brian J. Forsatz                        (arose@rmmslegal.com)
           Nicholas A. LoCastro                    RAKOCZY MOLINO MAZZOCHI SIWIK
           QUINN EMANUEL URQUHART &                LLP
           SULLIVAN, LLP                           6 West Hubbard Street, Suite 500
           51 Madison Avenue, 22nd Floor           Chicago, Illinois 60654
           New York, New York 10010                (312) 527-2157 (telephone)
           (212) 849-7000
                                                   Attorneys for Defendant/Counterclaim-
           Anthony M. Insogna                      Plaintiff Alembic Pharmaceuticals
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           JONES DAY
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           Matthew J. Hertko
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           77 W. Wacker Drive
           Chicago, IL 60601
           (312) 782-3939

           Attorneys for Plaintiff
           Celgene Corporation




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  IT IS SO ORDERED:

  ____________________________________        Dated: _____________________________
  Hon. Leda D. Wettre, U.S.M.J.




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                                             EXHIBIT A


   CELGENE CORPORATION,                                      Civil Action No. 21-20099
                                                             (SDW)(LDW)
                         Plaintiff,

          v.

   ALEMBIC PHARMACEUTICALS
   LIMITED,

                         Defendant.



                              DECLARATION OF COMPLIANCE

         I, __________________________________ do declare and state as follows:

         1.      I live at _____________________________. I am employed as (state position)

  _________________________________________ by (state name and address of employer)

  _________________________________________________________________________.

         2.      I have read the Discovery Confidentiality Order entered in this case, a copy of

  which has been given to me.

         3.      I understand and agree to comply with and be bound by the provisions of the

  Discovery Confidentiality Order, including that upon receipt of any Confidential Information or

  Highly Confidential Information, I will be personally subject to it, and to all of its requirements

  and procedures.

         4.      I agree that I will be subject to the jurisdiction of the United States District Court

  for the District of New Jersey for purposes of enforcement of the Discovery Confidentiality Order.

         5.      I understand that unauthorized disclosure of any designated Confidential

  Information or Highly Confidential Information, or its use for any purpose other than this

  litigation, may constitute contempt of this Court and may subject me to sanctions or other remedies
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  that may be imposed by the Court and or potential liability in a civil action for damages by the

  producing party.

         6.      At the final termination of this litigation, I will return to counsel or destroy all

  documents or things consisting of or containing Confidential Information or Highly Confidential

  Information.

         7.      I declare, as provided by 28 U.S.C. Section 1746, under penalty of perjury, under

  the laws of the United States of America, that the foregoing is true and correct.

         Executed this ________________ day of _________________, 20__.



                                                __________________________________________




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